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                              UNITED STATES DISTRICT COURT 11 iljd
                                     Eastern District of Texas
                                                                              FEB 0 6 2019
                                                    „ Clerk.. U.S. District Court
   CRAIG CUNNINGHAM,
                                                                     Texas Eastern
   Plaintiff,                                       S
                                                    §
   V.                                               §
                                                    § Civil Case No. iC V "i
   Air Voice, Inc.                                  §
                                                    §
   Defendant                                        §
                                                    §



                                  Plaintiffs Original Complaint


                                               Parties

   1. The Plaintiff is Craig Cunningham and natural person and was present in Texas for all

        calls in this case in Collin County.

   2. Air Voice, Inc., is a Wyoming corporation that can be served via Registered agent

        Incorp Services, Inc., 1910 Thomas Ave., Cheyenne, WY 82001 or Corporate Officer

        Vivek Babbar 42480 Benfold Sq., Brambleton, VA 20148 or 666 Plainsboro Road,

        Suite 1335 Plainsboro NJ, or 918 Waterview Way, Apt O Champaign, IL 61822.

   3. John/Jane Does 1-4 are other liable parties currently unknown to the Plaintiff.

                                 JURISDICTION AND VENUE

   4. Jurisdiction. This Court has federal-question subject matter jurisdiction over

        Plaintiffs TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal

        statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012). This Court has

        supplemental subject matter jurisdiction over Plaintiffs claim arising under Texas
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      B siness and Commerce Code 305.053 because that claim: arises from the same

      nucleus of operative fact, i.e.. Defendants telemarketing robocalls to Plaintiff; adds

      little complexity to the case; and doesn t seek money damages, so it is unlikely to

      predominate over the TCPA claims.

   5. Personal Jurisdiction. This Court has general personal jurisdiction over the

      defendant because the company has knowingly placed multiple calls to the Plaintiff

      while knowing that the Plaintiff lived and resided in Texas even after the Plaintiff had

      filed suit against them referencing the lawsuit filed and the Plaintiffs information.

   6. Venue. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(l)-(2)

      because a substantial part of the events giving rise to the claims the calls and sale of

      goods and services directed originated in Wyoming and the defendants reside in this

      district or contracted with Wyoming entities to launder money.

      THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C. §

      227

   7. In 1991, Congress enacted the TCPA in response to a growing number of consumer

      complaints regarding telemarketing.

   8. The TCPA makes it unlawful to make any call (other than a call made for emergency

      purposes or made with the prior express consent of the called party) using an

      automatic telephone dialing system or an artificial or prerecorded voice ... to any

      telephone number assigned to a ... cellular telephone service. 47 U.S.C. §

      227(b)(l)(A)(iii).
   9. The TCPA makes it unlawful to initiate any telephone call to any residential

      telephone line using an artificial or prerecorded voice to deliver a message without
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       the prior express consent of the called party, unless the call is initiated for emergency

       purposes, is made solely pursuant to the collection of a debt owed to or guaranteed by

       the United States, or is exempted by rule or order of the Federal Communication

       Commission ( FCC”). 47 U.S.C. § 227(b)(1)(B).

    10. The TCPA provides a private cause of action to persons who receive calls in violation

       of § 227(b). 47 U.S.C. § 227(b)(3).

    11. Separately, the TCPA bans making telemarketing calls without a do-not-call policy

       available upon demand. 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(d)(1).1

   12. The TCPA provides a private cause of action to persons who receive calls in

       violation of § 227(c) or a regulation promulgated thereunder. 47 U.S.C. § 227(c)(5).

   13. According to findings of the FCC, the agency vested by Congress with authority to

       issue regulations implementing the TCPA, automated or prerecorded telephone calls

       are a greater nuisance and invasion of privacy than live solicitation calls and can be

       costly and inconvenient.

   14. The FCC also recognizes that wireless customers are charged for incoming calls

       whether they pay in advance or after the minutes are used.” In re Rules a d

       Regulations Implementing the Tel. Consumer Prot. Act of 1991, 18 FCC Red. 14014,

       14115 If 165 (2003).

   15. The FCC requires prior express written consent” for all autodialed or prerecorded

       telemarketing robocalls to wireless numbers and residential lines. In particular: [A]

       consumer s written consent to receive telemarketing robocalls must be signed and be

       sufficient to show that the consumer: (1) received clear and conspicuous disclosure


   1 See Code of Federal Regulations, Title 47, Parts 40 to 60, at 425 (2017)
   (codifying a June 26, 2003 FCC order).
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      of the consequences of providing the requested consent, i.e., that the consumer will

      receive future calls that deliver prerecorded messages by or on behalf of a specific

      seller; and (2) having received this infon ation, agrees unambiguously to receive

      such calls at a telephone number the consumer designates. In addition, the written

      agreement must be obtained without requiring, directly or indirectly, that the

      agreement be executed as a condition of purchasing any good or service.

   16. In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

      1991, 27 FCC Red. 1830, 1844133 (2012) (footnote and internal quotation marks

      omitted). FCC regulations generally establish that the party on whose behalf a

      solicitation is made bears ultimate responsibility for any violations. In the Matter of

      Rules and Regulations Impleme ting the Tel. Consumer Prot. Act of 1991, 10 FCC

      Red. 12391, 12397 13 (1995).

   17. The FCC confirmed this principle in 2013, when it explained that a seller ... may be

      held vicariously liable under federal common law principles of agency for violations

      of either section 227(b) or section 227(c) that are committed by third-party

      telemarketers.” In the Matter of the Joint Petition Filed by Dish Network, LLC, 28

      FCC Red. 6574, 6574 1 (2013).

   18. Under the TCPA, a text message is a call. Satterfield v. Simo & Sch ster, Inc., 569

      F.3d 946, 951 -52 (9th Cir. 2009).

   19. A corporate officer involved in the telemarketing at issue may be personally liable

      under the TCPA. E.g., Jackson Five Star Catering, Inc. v. Beason, Case No. 10-


      10010, 2013 US. Disk LEXIS 159985, at *10 (E.D. Mich. Nov. 8, 2013) (“[M]any

      courts have held that corporate actors can be individually liable for violating the
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      TCPA where they had direct, personal participation in or personally authorized the

      conduct found to have violated the statute. (internal quotation marks omitted));

      Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415 - 16 (D. Md. 2011) ( If

      an individual acting on behalf of a corporation could avoid individual liability, the

      TCPA would lose much of its force.”).

                        The Texas Business and Commerce Code 305.053

   20. The Texas Business and Commerce code has an analogus portion that is related to the

      TCPA and was violated in this case.

   21. The Plaintiff may seek damages under this Texas law for violations of 47 USC 227 or

       subchapter A and seek $500 in statutory damages or $1500 for willful or knowing

      damages.

                                    FACTUAL ALLEGATIONS

   22. Rachel with Card Services is the bane of the existance of many consumers. These are

      calls long since prosecuted by the FTC that make fraudulent, misleading, false

      promises and exaggerated claims to consumers. These scams have taken place for

      years and continue to this day. Air Voice, Inc. Mukesh Mahajan, Vivek Babbar,

      Dheer Gulatiare ringleaders of this scam and have called thousands of consumers

      including the Plaintiff in violation of the TCPA.

   23. The Plaintiff sued Air Voice, Inc in Wyoming 2:18-cv-00182 in November 2018, and

      despite this additional calls continued taunting the Plaintiff about his lawsuit.

   24. The calls alleged were placed by or on behalf of Air Voice, Inc., to the Plaintiff in this

      case without consent and not related to any emergency purpose as alleged in this

      complaint. Air Voice Inc to placed calls to the Plaintiffs cell phone that were
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       initiated using an automated telephone dialing system and contained a pre-recorded

       message

                                 Air Voice Inc TCPA violations

   25. Mr. Cunningham received multiple calls from a variety of spoofed caller ID s that

       contained a pre-recorded message and were initiated using an automated telephone

       dialing system. The calls were on behalf of Air Voice Inc.

   26. In September and October 2018, the Plaintiff recieved multiple calls from multiple

       spoofed or non-working caller ID s all designed to trick consumers into picking up

       the phone by using false, misleading, and fraudulent caller ID’s. These calls were not

       related to an emergency purpose or any consent provided by the Plaintiff.

   27. An example of a pre-recorded message was This is not a solicitation call. Hi, this is

       the credit card holder reward center with Visa Mastercard. We have been monitoring

      your credit card accounts for the last 6 months. Congratulations on your excellent

      payment history... This call was from 615-331-7890, which is a local area spoofing

       designed to trick consumers to pick up the phone by making it appear to be a local

      number calling the Plaintiff, to 615-331-7262 on 10/23/2018.

   28. Each and every call was initiated using an automated telephone dialing system as

      there was a 3-4 second pause of dead air before the call connected and the pre¬

      recorded message started.

   29. In total, the Plaintiff received at least 47 calls by or on behalf of Air Voice Inc.

   30. On October 24, 2017, the Plaintiff had a charge appear on his credit card from Air

      Voice, Inc. in the amount of $1,200 for the card ending in 8565 (See Screenshot Ex

      A). The Plaintiff never authorized this charge by Air Voice, Inc., and never spoke or
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       interacted with anyone associated with Air Voice, Inc., before the charge was made.

      The $1200 charge corresponds to an amount the individuals with card services

       claimed to charge the Plaintiff on 10/23/2018 and was later confirmed that the “Card

       services” individuals had placed a charge on the Plaintiff s card through Air Voice

      Inc.


                                         Alleged Calls

                                                                          Calls to 331-7262
   Date/Time            Type   Number        Duration Direction Network x 40
     20/08/2018 3:18 PM call   (615) 331-789044s      inbound cell
     20/08/2018 3:18 PM call   (615) 331-78903s       inbound cell
     13/08/2018 9:16 PM call   (615) 331-7890 1m 9s    inbound   cell
     10/08/2018 3:16 PM call   (615) 331-7890 1m 11s   inbound   cell
     09/08/2018 4:09 PM call   (615) 331-7890 1m 9s    inbound   cell
     09/08/2018 1:19 PM call   (615) 331-7890 18s      inbound   cell
     08/08/2018 8:41 PM call   (615) 331-7890 29s      inbound   cell
     25/09/2018 1:05 PM call   (615) 331-7890 16s      inbound   cell
     24/09/2018 6:18 PM call   (615) 331-7890 48s      inbound   cell
     19/09/2018 7:54 PM call   (615) 331-7890 1m 27s inbound     cell
     13/09/2018 9:41 PM call   (615) 331-7890 1m 9s    inbound   cell
     11/09/2018 6:11 PM call   (615)331-7890 1m 16s inbound      cell
     29/10/2018 2:51 PM call   (615) 331-7890 1m 9s    inbound   cell
     23/10/2018 5:43 PM call   (615) 331-7890 51m 26s inbound    cell
     18/10/2018 9:01 PM call   (615) 331-7890 3m 17s inbound     cell
     02/10/2018 1:23 PM call   (615) 331-7890 1m 9s    inbound   cell
     15/11/2018 4:41 PM call   (888) 579-9909 35s      inbound   cell
     15/11/2018 3:54 PM call   (888) 579-9909 36m 18s inbound    cell
     15/11/2018 1:26 PM call   (615) 331-7890 1m 9s    inbound   cell
     08/11/2018 3:14 PM call   (615) 331-7890 40s      inbound   cell
     06/11/2018 1:21 PM call   (615) 331-7890 52s      inbound   cell
     02/11/2018 7:36 PM call   (615) 331-7890 1m 10s inbound     cell
     01/11/2018 2:13 PM call   (615) 331-7890 49s      inbound   cell
     26/12/2018 8:13 PM call   (615) 331-7890 1m 9s    inbound   cell
     17/12/2018 3:37 PM call   (615) 331-7890 1m 9s    inbound   cell
     07/12/2018 9:44 PM call   (615) 331-7890 1m 9s    inbound   cell
     31/01/2019 7:32 PM call   (615) 331-7890 1m 9s    inbound   cell
     22/01/2019 2:57 PM call   (615) 331-7890 1m 9s    inbound   cell
     17/01/2019 3:59 PM call   (615) 331-7890 1m 9s    inbound   cell
     11/01/2019 4:06 PM call   (615) 331-7890 33s      inbound   cell
     10/01/2019 9:39 PM call   (615) 331-7890 1m 9s    inbound   cell
     04/01/2019 4:25 PM call   (615) 331-7890 1m 9s    inbound   cell
             06/12/2018 call   615-331-7890         54 inbound   cell
             06/07/2018 call   615-331-7890         69 inbound   cell
             06/05/2018 call   615-331-7890         69 inbound   cell
             06/04/2018 call   615-331-7890         69 inbound   cell
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              05/29/2018 call   615-331-7890          69 inbound    cell
              05/25/2018 call   615-331-7890          22 inbound    cell
              05/07/2018 call   615-331-7890        1081 inbound    cell
              04/23/2018 call   615-331-7890          70 inbound    cell
                                                                             Calls to 212-9191
                                                                             x7
     13/12/2018 9:25 PM call    (615)403-7890 44s        inbound    cell
     22/01/2019 1:59 PM call    (615) 403-7890 6s        inbound    cell
             01/08/2019 call    (615) 403-7890          4 inbound   cell
             12/14/2018 call    (615)403-7890       37:21 inbound   cell
             11/23/2018 call    (615)403-7890       32:32 inbound   cell
             07/09/2018 call    (615) 403-7890         13 inbound   cell

     23/11/2018 8:35 PM call (615)212-7890 32m 56s inbound cell




   31. On 08/25/2018, the Plaintiff called 609-269-4672 a number associated with Air Voice

       Inc., but it was a Google Voice number and left a message. Vivek Babbar is the CEO

       and corporate officer of Air Voice Inc. Vivek indicated that his company charged the

      Plaintiff s card for debt relief services, but the Plaintiff never authorized any

      transaction with Vivek or Air Voice Inc. The Plaintiff was emailed financial records

       showing the transaction and subsequent refund from the perspective of Air Voice,

      Inc., confirming the transaction was made and matched the charges on the Plaintiff’s

      credit card.(See Ex B and C) 1

         Air Voice Inc s, knowing and Willful Telemarketing regulation violations

   32. Air Voice Inc.,and did not have a written do-not-call policy while it was sending

      calls to Mr. Cunningham indicated by continued calls after the Plaintiff had sued

      them.


   33. On information and belief. Air Voice Inc. did not train its agents engaged in

      telemarketing on the existence and use of any do-not-call list.

   34. Calls on behalf of Air Voice Inc., did not provide Mr. Cunningham with the name of
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      the individual caller or the name of the person or entity on whose behalf the call was

      being made.

   35. Each and every call placed on behalf of and for the benefit of Air Voice Inc.,

   36. Mr. Cunningham has a limited data plan. Incoming text messages chip away at his

      monthly allotment.

   37. Mr. Cunningham has limited data storage capacity on his cellular telephone.

      Incoming calls fromAir Voice Inc., consumed part of this capacity.

   38. No emergency necessitated the calls

   39. Each call was sent by an ATDS.

   40. Even after the Plaintiff sued Air Voice Inc., additional calls continued to the

      Plaintiffs cell phone with the agents identifying themselves as being part of Air

      Vocie inc and taunting the Plaintiff with regards to the previously filed lawsuit and

      cursing at the Plaintiff. .

   41. One such call occured on 11/23/2018 from 615-212-7890 to 615-212-9191. The call

      was initiated using an automated telephone dialing system or pre-recorded message.

      The agent who identified himself as Matty stated his company name was SUCK

      Financial” and asked the Plaintiff You want to sue me? and stated Why don 'tyou

      suck my cock" and stated I've got a huge cock for you motherfucker and added

       “You are tiying to sue me? I ll sue you motherfucker” This references the previously

      filed Air Voice lawsuit.

   42. As another example on 12/14/2018, the Plaintiff recieved a call from 615-403-7890 to

      615-212-9191. This call contained a pre-recorded message and was initiated using an

      automated telephone dialing system. In this call, the agent stated so you are Craig,
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        Craig C nningham, I have your address now. So you are hying to sue me? You are

          ying to sue us? I'm from Air Voic , sir. The agent stated I have your letter you

        sent us on November 5, 2018...clerk of court... apparently reading off the lawsuit

        that the Plaintiff had filed and served to them

     43. These calls and the repeated instances of them for months after the Plaintiff filed the

        lawsuit indicates that all the calls were knowing and willfully placed and that the

        defendants lack an internal do not call policy and have not trained their agents on the

        use of an internal do-not-call policy list in violation of 47 USC 227(c)(5).




                 Violations of the Texas Business and Commerce Code 305.053

    44. The actions of Air Voice Inc. violated the Texas Business and Commerce Code

        305.053 by placing automated calls to a cell phone which violate 47 USC 227(b). The

        calls by Air Voice Inc., violated Texas law by placing calls with a pre-recorded

        message to a cell phone which violate 47 USC 227(c)(5).

    45. The calls by Air Voice Inc., violated Texas law by spoofing the caller ID s per 47

        USC 227(e) which in turn violates the Texas statute.


                                  I. FIRST CLAIM FOR RELIEF

         (Non-Emergency Robocalls to Cellular Telephones, 47 U.S.C. § 227(b)(1)(A))

                                     (A ainst All Defendants)

            1. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

            2. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by making
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     non-emergency telemarketing robocalls to Mr. Cunningham s cellular telephone number

     without his prior express written consent.

            3. Mr. Cunningham is entitled to an award of at least $500 in damages for

     each such violation. 47 U.S.C. § 227(b)(3)(B).

            4. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(b)(3).

            5. Mr. Cunningham also seeks a pen anent injunction prohibiting

    Defendants and their affiliates and agents from making non-emergency telemarketing

    robocalls to cellular telephone numbers without the prior express written consent of the

    called party.


                                II. SECOND CLAIM FOR RELIEF

            (Telemarketing Without Mandated Safe uards, 47 C.F.R. § 64.1200(d))

                                     (Against All Defendants)

            6. Mr. Cunningham realleges and incorporates by reference each and every

    allegation set forth in the preceding paragraphs.

            7. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of FCC regulations by making telemarketing

    solicitations despite lacking:

                    a. a wi itten policy, available upon demand, for maintaining a do-not-

    call list, in violation of 47 C.F.R. § 64.1200(d)(1);2




    2 See id. at 425 (codifying a June 26, 2003 FCC order).
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                   b. training for the individuals involved in the telemarketing on the

    existence of and use of a do-not-call list, in violation of 47 C.F.R. § 64.1200(d)(2);3 and,

                   c. in the solicitations, the name of the individual caller and the name

    of the person or entity on whose behalf the call is being made, in violation of 47 C.F.R. §

    64.1200(d)(4).4

           8. Mr. Cunningham is entitled to an award of at least $500 in damages for


    each such violation. 47 U.S.C. § 227(c)(5)(B).

           9. Mr. Cunningham is entitled to an award of up to $1,500 in damages for

    each such knowing or willful violation. 47 U.S.C. § 227(c)(5).

            10. Mr. Cunningham also seeks a permanent injunction prohibiting

    Defendants and their affiliates and agents from making telemarketing solicitations until

    and unless they (1) implement a do-not-call list and training thereon and (2) include the

    name of the individual caller and ASI, LLC s name in the solicitations.


            III. THIRD CLAIM FOR RELIEF: Violations of The Texas Business and

                                     Commerce Code 305.053

            11. Mr. Cunningham realleges and incorporates by reference each and every


    allegation set forth in the preceding paragraphs.

            12. The foregoing acts and omissions of Defendants and/or their affiliates or

    agents constitute multiple violations of the Texas Business and Commerce Code

    305.053, by making non-emergency telemarketing robocalls to Mr. Cunningham s




    3 See id. at 425 (codifying a June 26, 2003 FCC order).
    4 See id. at 425 - 26 (codifying a June 26, 2003 FCC order).
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    cellular telephone number without his prior express written consent in violation of 47

    USC 227 et seq.

             13. Mr. Cunningham is entitled to an award of at least $500 in damages for

    each such violation.Texas Business and Commerce Code 305.053(b)

             14. Mr. Cunningham is entitled to an award of up to $ 1,500 in damages for

    each such knowing or willful violation. Texas Business and Commerce Code

    305.053(c).


                                    IV. PRAYER FOR RELIEF

             WHEREFORE, Plaintiff Craig Cunningham prays for judgment against

    Defendant Air Voice Inc., as follows:

             A. Leave to amend this Complaint to name additional DOESs as they are

    identified and to conform to the evidence presented at trial;

             B. A declaration that actions complained of herein by Defendants violate the

    TCPA and Texas state law;

             C. An injunction enjoining Defendants and their affiliates and agents from

    engaging in the unlawful conduct set forth herein;

             D. An award of $3000 per call in statutory damages arising from the TCPA

    intentional violations jointly and severally against the corporation and individual for 47

    calls.


             E. An award of $1,500 per call in statutory damages arising from violations

    of the Texas Business and Com erce code 305.053 for 47 calls

             F. An award to Mr. Cunningham of damages, as allowed by law under the

    TCPA;
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           G. An award to Mr. Cunningham of interest, costs and attorneys fees, as

    allowed by law and equity

           H. Such further relief as the Court deems necessary, just, and proper.




    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075


    2/6/2019
